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                             IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF IDAHO

WALTER D. BALLA, et al.,

                       Plaintiffs,               Case No. CV 81-1165-S-BLW

         v.                                      JOINT STIPULATION FOR ENTRY OF
                                                 ORDER POSTPONING THE
IDAHO STATE BOARD OF                             EFFECTIVE DATE OF AUTOMATIC
CORRECTION, et al.,                              STAY

                       Defendants.


         Plaintiffs Walter D. Balla, et al. (“Plaintiffs”) and Defendants Idaho State Board of

Correction, et al. (“Defendants”) (collectively the “Parties”), by and through their respective

counsel, hereby stipulate and move this Court for an Order pursuant to 18 U.S.C. § 3626(e)(3)

postponing the effective date of the 30 day automatic stay of the Prison Litigation Reform Act

for an additional 60 days, resulting in a total of 90 days from the date of Defendants’ March 1,

2019 filing of its Motion to Terminate Prospective Relief (Dkt. 1257), or until May 30, 2019, for

good cause shown.




   JOINT STIPULATION FOR ENTRY OF ORDER POSTPONING THE EFFECTIVE
   DATE OF AUTOMATIC STAY -1

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         An Order, in substantially the same form as the one provided to the Court concurrently

herewith, is necessary to maintain the current injunctive and prospective relief so as to avoid

possible harm to Plaintiffs while they prepare their response to Defendants’ Motion to Terminate

Prospective Relief.

         WHEREFORE the parties respectfully request an Order postponing the effective date of

automatic stay until May 30, 2019.



         DATED: March 13, 2019.


                                                 /s/ W. Christopher Pooser
                                                 W. Christopher Pooser
                                                 Wendy J. Olson
                                                 Elijah M. Watkins

                                                 Attorneys for Plaintiffs




         DATED: March 13, 2019.


                                                 /s/ Mark A. Kubinski
                                                 Mark A. Kubinski
                                                 Colleen D. Zahn

                                                 Attorneys for Defendants




JOINT STIPULATION FOR ENTRY OF ORDER POSTPONING THE EFFECTIVE
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                                    CERTIFICATE OF SERVICE

         I hereby certify that on March 13, 2019, I served a copy of the foregoing JOINT

STIPULATION FOR ENTRY OF ORDER POSTPONING THE EFFECTIVE DATE OF

AUTOMATIC STAY on CM/ECF Registered Participants as reflected on the Notice of

Electronic Filing as follows:


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                                              /s/ W. Christopher Pooser
                                             W. Christopher Pooser




JOINT STIPULATION FOR ENTRY OF ORDER POSTPONING THE EFFECTIVE
DATE OF AUTOMATIC STAY - 3

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